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                           IN THE UNITED STATES DISTRCT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

ALTHEA SHACKELFORD,                                       §
                                                          §
        Plaintiff,                                        §
                                                          §
v.                                                        §   Civil Action No. 4:22-cv-3496
                                                          §
SPECIALIZED LOAN SERVICING                                §
LLC, and U.S. BANK, N.A.,                                 §
                                                          §
         Defendants.                                      §

                              DEFENDANTS’ REPLY IN SUPPORT OF
                              MOTION FOR SUMMARY JUDGMENT

         Defendants U.S. Bank National Association, as Trustee for TBW Mortgage-Backed Trust

Series 2007-2, TBW Mortgage Pass-Through Certificates, Series 2007-21 (“U.S. Bank”), and

Specialized Loan Servicing, LLC (“SLS” and together with U.S. Bank, “Defendants”) file this

their Reply in Support of Motion for Summary Judgment, and shows as follows:

                                   I. PROCEDURAL BACKGROUND

         1.       Defendants filed their Motion for Summary Judgment against Plaintiff Althea

Shackelford on June 23, 2023. [ECF Doc. No. 10.] Due to an oversight of Plaintiff’s counsel not

being registered in the ECF system, Defendants’ counsel was unable to complete service

initially. On August 30, 2023, Plaintiff filed an amended certificate of service serving

Defendants’ Motion for Summary Judgment on Plaintiff’s counsel via certified mail, U.S. mail

and by email. [ECF Doc. No. 12].




1
  Defendant U.S. Bank National Association, as Trustee for TBW Mortgage-Backed Trust Series 2007-2, TBW
Mortgage Pass-Through Certificates, Series 2007-2, is appearing herein in its correct capacity and is defending all
claims against the named “U.S. Bank N.A.” in this action.


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         2.       Pursuant to Local Rule 7.4(A), and Court Procedures 15(e)2, Plaintiff’s response

to Defendant’s Motion for Summary Judgment was due within 21 days on September 20, 2023.

Local Rule 5(g). Plaintiff failed to timely file a response to Defendant’s Motion for Summary

Judgment.

         3.       The Court set a status conference on November 9, 2023, at 2:30 P.M. [ECF Doc.

No. 15]. On November 8, 2023, Plaintiff’s counsel sent a letter advising the Court that he would

be filing his Response to Defendant’s Motion for Summary Judgment and his Pro Hac Vice

motion. The Court cancelled the status conference.

         4.       After Plaintiff failed to file his Response to Defendants’ Motion for Summary

Judgment and submit a motion to appear pro hac vice, the Court notified both parties that a Show

Cause Hearing would be set on November 16, 2023 at 1:15 P.M. [ECF Doc. No. 16].

         5.       On November 14, 2023, Plaintiff’s counsel filed a Response to Defendants’

Motion for Summary Judgment. [ECF Doc. No. 17].

                                II. ARGUMENT AND AUTHORITIES

No special relationship between parties to support duty of good faith and fair dealing

         6.       Texas does not “recognize a common law duty of good faith and fair dealing in

transactions between a mortgagee and mortgagor, absent a special relationship marked by shared

trust or an imbalance in bargaining power." Visconti v. Bank of Am., No. 4:10cv532, 2012 U.S.

Dist. LEXIS 124315, *6, 2012 WL 3779083, at *2 (E.D. Tex. Aug. 31, 2012) (quoting Coleman

v. Bank of Am., N.A., 2011 U.S. Dist. LEXIS 67056, 2011 WL 2516169, at *1 (N.D. Tex. May

27, 2011) (unpublished)) (quotation marks omitted); see Souto v. Bank of Am., No. H-11-3556,



2
 The parties also conferred via email on August 30, 2023, and Plaintiff’s counsel agreed to a deadline for a response
21 days from Plaintiff’s amended certificate of service.


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2012 U.S. Dist. LEXIS 118841, 2012 WL 3638024, at *4 (S.D. Tex. Aug. 22, 2012); Casterline

v. Indy Mac/One West, 761 F. Supp. 2d 483, 491 (S.D. Tex. 2011); Fed. Deposit Ins. Corp. v.

Coleman, 795 S.W.2d 706, 709 (1990).

        7.      Plaintiff has offered no evidence from which the Court could infer the existence

of a special relationship that would trigger a duty of good faith and fair dealing on the part of

Defendants. Additionally, Plaintiff has not directed the Court to any case law supporting the

existence of a special relationship. Plaintiff has thus failed to raise a question of fact about the

existence of a duty of good faith and fair dealing on the part of Defendants.

No private cause of action under 12 CFR §§1024.35 and §1024.39

        8.      Beyond restating the applicable code provisions in the Real Estate Settlement

Procedures Act (“RESPA”) and offering conclusory allegations, Plaintiff fails to raise a genuine

issue of material fact.

        9.      Plaintiff fails to address that violations under 12 C.F.R. §§1024.35 and 1024.39

are not private causes of action. Solis v. U.S. Bank, N.A., No. H-16-00661, 2017 U.S. Dist.

LEXIS 211711, 2017 WL 4479957, at *3 (S.D. Tex. June 23, 2017), aff'd, 726 F. App'x 221 (5th

Cir. 2018); Vallier v. Nationstar Mortg., LLC, No. CV H-17-0998, 2018 U.S. Dist. LEXIS

42134, 2018 WL 1319166, at *5 (S.D. Tex. Feb. 1, 2018), report and recommendation

adopted, No. 4:17-CV-0998, 2018 U.S. Dist. LEXIS 41187, 2018 WL 1322247 (S.D. Tex. Mar.

13, 2018) ("there is no private cause of action for any violation of 12 C.F.R. §§ 1024.35") By

failing to address this argument, Plaintiffs abandoned these claims. Defendants are, therefore,

entitled to dismissal with prejudice of these claims. See Mayo v. Halliburton Co., 2010 U.S. Dist.

LEXIS 113816, 2010 WL 4366908, at *5 (S.D. Tex. Oct. 26, 2010).




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         10.   In fact, Plaintiff attempted the same argument in previous litigation against

Defendant’s predecessor in interest. The Court dismissed Plaintiff’s RESPA claims with

prejudice holding, “The Fifth Circuit has also held that neither 12 CFR § 1024.35 nor 12 CFR §

1024.39 provide for a private right of action.” Shackelford v. Ocwen Loan Servicing LLC, No.

4:19-cv-01540, 2020 U.S. Dist. LEXIS 113226, 2020 WL 3542276, at *3 (S.D. Tex. June 29,

2020).

No viable cause of action to support injunctive relief

         11.   “[A] request for injunctive relief must be dismissed unless it is supported by a

viable claim.” Denman v. Wells Fargo Bank, N.A., No. SA-13-CV-11-XR, 2013 U.S. Dist.

LEXIS 62799, 2013 WL 1866580, at *2 (W.D. Tex. May 2, 2013). Because Plaintiffs have failed

to state a plausible claim they are not entitled to injunctive relief. Rodriguez v. Bank of America,

N.A., No. SA-12-CV-00905-DAE, 2013 U.S. Dist. LEXIS 59469, 2013 WL 1773670, at *13

(W.D. Tex. April 25, 2013)

         WHEREFORE, Defendants request that Plaintiff takes nothing on her claims plus

Defendants recover its attorneys’ fees and all costs of suit as a further obligation on the debt.

Defendants further request such other and further relief to which it may be entitled.




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                                                 Respectfully submitted,

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                                                 ATTORNEYS FOR DEFENDANTS




                              CERTIFICATE OF SERVICE

       The undersigned certifies that on November 21, 2023, a true and correct copy of the
foregoing document was delivered to the following via the method prescribed below:

       Via Email: rhsacktic@yahoo.com
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                                            /s/ Nicholas M. Frame
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